1                                                                      Honorable Christopher M. Alston

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8                     IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
9
     In re:                                            )   Chapter 7
10                                                     )   Bankruptcy No. 18-13383
     JACK CARLTON CRAMER JR.,                          )
11                                                     )   STIPULATED MOTION FOR AN
                     Debtor(s).                        )   ORDER DECLARING DEED OF
12                                                     )   TRUST UNENFORCEABLE

13            COME NOW 21st Mortgage Corporation (“21st Mortgage”), through counsel, Tomasi Salyer

14   Martin, and Eleanor A. DuBay, and the duly appointed trustee, Edmund J. Wood, through counsel,

15   The Livesey Law Firm, and Rory C. Livesey, and stipulate as follows:

16            21st Mortgage is the beneficiary of that deed of trust dated December 22, 2000, and recorded

17   in the records of King County, Washington on December 28, 2000, under recording number

18   20001228001193 against the real property of the estate located at 15605 - 63rd Avenue N.E.,

19   Kenmore, Washington 98028, and legally described as

20            Lot 1 in Block 3 of Inglewoods No. 2, as per plat recorded in Volume 54 of Plats,
              Pages 30 and 31, Records of King County Auditor;
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              Situate in the City of Kenmore, County of King, State of Washington.
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              21st Mortgage and the trustee stipulate that the obligation secured by that deed of trust is
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     unenforceable due to the passage of time and the deed of trust is not an encumbrance against the
24
     property.
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     STIPULATED MOTION FOR AN
     ORDER DECLARING DEED                                                   THE LIVESEY LAW FIRM
                                                                            600 Stewart Street, Suite 1908
     OF TRUST UNENFORCEABLE                                                 Seattle, WA 98101
     200406aMot Page 1                                                      (206) 441-0826
      Case 18-13383-CMA           Doc 131     Filed 04/08/20     Ent. 04/08/20 11:45:00       Pg. 1 of 2
1           This stipulation does not affect the judgment in favor of 21st Mortgage filed under recording

2    number 20160802000179, and as set forth in Proof of Claim No. 4 filed in this proceeding, the

3    allowance and payment of which will be subject to further order of the court.

4           RESPECTFULLY SUBMITTED this 8th day of April, 2020.

5                                                 TOMASI SALYER MARTIN

6
                                                          /S/ Eleanor A. DuBay
7
                                                  Eleanor A. DuBay, WSBA #45828
8                                                 Attorney for 21st Mortgage Corporation

9           RESPECTFULLY SUBMITTED this 8th day of April, 2020.

10                                                THE LIVESEY LAW FIRM

11
                                                          /S/ Rory C. Livesey
12
                                                  Rory C. Livesey, WSBA #17601
13                                                Attorney for Edmund J. Wood, Trustee

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     STIPULATED MOTION FOR AN
     ORDER DECLARING DEED                                                  THE LIVESEY LAW FIRM
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